                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

 CAREN HEDRICK,                                   )
                                                  )
                           Plaintiff,             )
                                                  )    Case No. 4:21-cv-00633-DGK
                v.                                )
                                                  )
 HOME DEPOT USA INC. DBA HOME                     )
 DEPOT,                                           )
                                                  )
                           Defendant.             )


                            NOTICE OF JOINT STIPULATION OF
                              DISMISSAL WITH PREJUDICE

       Plaintiff Caren Hedrick and Defendant Home Depot USA, Inc. hereby stipulate and agree

that this case should be dismissed with prejudice, with each party to bear her/its own costs.

 Respectfully submitted,

  /s/ David A. Lunceford                       By: /s/ Shelley I. Ericsson
 David A. Lunceford MO #47014                      Shelley I. Ericsson     MO #48047
 LUNCEFORD LAW FIRM, LLC                           Sarah E. Jones          MO #71957
 201 SE 1st Street                                 OGLETREE, DEAKINS, NASH,
 Lee’s Summit, MO 64063                               SMOAK & STEWART, P.C.
 816.525.4701                                      4520 Main Street, Suite 400
 816.347.0366                                      Kansas City, MO 64111
 LLF.DLunceford@gmail.com                          816.471.1301
                                                   816.471.1303 (Facsimile)
 ATTORNEYS FOR PLAINTIFF                           shelley.ericsson@ogletree.com
                                                   sarah.jones@ogletree.com

                                                      ATTORNEYS FOR DEFENDANT




         Case 4:21-cv-00633-DGK Document 18 Filed 04/01/22 Page 1 of 2
                                CERTIFICATE OF SERVICE

        I hereby certify that on this 1st day of April 2022, the foregoing was electronically filed
with the Court Administrator through the CM/ECF system and service was made through the
electronic filing system to:

David A. Lunceford MO #47014
LUNCEFORD LAW FIRM, LLC
201 SE 1st Street
Lee’s Summit, MO 64063
816.525.4701
816.347.0366
LLF.DLunceford@gmail.com

ATTORNEYS FOR PLAINTIFF

                                                 /s/ Shelley I. Ericsson
                                                 ATTORNEY FOR DEFENDANT




                                                2
         Case 4:21-cv-00633-DGK Document 18 Filed 04/01/22 Page 2 of 2
